                                             UNITED STATES BANKRUPTCY COURT
                                                   DISTRICT OF OREGON

In re                                          )     Case No.       17-63436-pcm13
Ruben Limas, Sr.                               )
                                               )
                                               )     Notice of Motion for Relief
                                               )     From (Check All That Apply):
                                               )        Automatic Stay in a Chapter 7/13 Case
                                               )        Chapter 13 Codebtor Stay
Debtor(s)                                      )


   1. YOU ARE NOTIFIED that a motion was filed by US Bank Trust National Association as Trustee* , the
       moving party, for (Check all that apply):
        Relief from the automatic stay protecting the debtor(s) and debtor's property, as provided by 11 U.S.C.
        § 362.
        Relief from the stay protecting the codebtor and codebtor’s property as provided by 11 U.S.C. § 1301.
        Codebtor’s name and service address are:
                                                                                                              .

   2. A copy of the motion is attached. The name and service address of the moving party's attorney (or moving
      party, if no attorney) are: Scott D. Crawford - Zieve, Brodnax & Steele, LLP
      One World Trade Center, 121 Southwest Salmon Street, 11th Floor, Portland, OR 97204                    .

   3. If you wish to resist the motion, you must, within 14 days of the service date shown below, file the following
      with the clerk at 1050 SW 6th Ave. #700, Portland OR 97204 or 405 E. 8th Ave. #2600, Eugene OR 97401:

            a. A written response that states the facts supporting the opposition to the motion by filling in the
               applicable “response” portions on a copy of the original motion. If the response will be electronically
               filed, the response must be prepared using the fillable pdf version of the original motion unless the
               motion was filed on paper and could not be electronically obtained from the movant; and

            b. A fully completed notice of hearing using Local Bankruptcy Form (LBF) 721, including the date and
               time of the hearing. Available hearing dates and times are posted at https://www.orb.uscourts.gov
               under the “Hearings” heading. If you do not have internet access, please call the court at (503) 326-
               1500 or (541) 431-4000 and press “0" to obtain the required forms and hearing information.

   4. Failure to Object or Serve Proper Notice of Hearing. If you fail to file a timely response and notice of
      hearing, then the automatic stay may expire as to the debtor(s) pursuant to 11 U.S.C. § 362(e) and the stay
      protecting the codebtor may expire pursuant to 11 U.S.C. § 1301(d), or the court may sign an order
      without further notice, submitted by the moving party on LBF 720.90, granting relief from the debtor stay
      and/or codebtor stay.




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   I certify that:

   (1) The motion was prepared using the fillable PDF version of LBF 720.80; and

   (2) On     01/03/2019        this notice and the motion were served on the debtor(s), any codebtor at the address
   listed above, the trustee, the U.S. Trustee, members of any committee elected pursuant to 11 U.S.C. § 705, and
   their respective attorneys.


                                             /s/ Scott D. Crawford                                     086448
                                              Signature of Moving Party or Attorney                      (OSB#)




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                                         UNITED STATES BANKRUPTCY COURT
                                               DISTRICT OF OREGON

In re                                         ) Case No. 17-63436-pcm13
Ruban Limas, Sr.                              )
                                              ) (Check all applicable boxes)
                                              )     Ch. 7/13 Motion for Relief from
                                              )         Debtor     Chapter 13 Codebtor Stay
                                              )     Filed by Creditor:
                                              )      US Bank Trust National Association
                                              )     Response to Stay Motion filed by Respondent:
Debtor(s)                                     )

1. Debt, Default, Other Encumbrances, Description and Value of Collateral (To be completed by creditor)

    a. Description of collateral (car model, year, VIN, property address):
        Real Property located at: 4935 Delight St. N, Keizer, OR 97303 as described in the deed of trust,
        a copy of which is attached hereto.
        *US Bank Trust National Association as Trustee of the Tiki Series III Trust
    b. Amount of debt: $         112,158.32     consisting of principal: $ 91,736.18 ; interest: $        1,184.47   ;
       other:
        Funds owed by Borrower - $1,147.67; Unpaid Fees - $18,105.62; Funds owed to Borrower
        ($15.62) - This is an approximate amount for the purpose of this Motion only. An exact payoff
        figure can be obtained upon request.
    c. Description, amount and priority of other encumbrances on collateral. If not known, include applicable
       information from debtor’s schedules if available on PACER:
        n/a


        Total debt secured by collateral (total 1.b. + 1.c.): $    112,158.32        .

    d. Value of collateral: $      135,000.00     .
       Equity in collateral: $     22,841.68       , after deducting $      10,800.00     liquidation costs.

    e. Current monthly payment: $             1,017.19    .

    f. If Chapter 13:

        (1) $ 4,066.95 postpetition default consisting of (e.g., $               0        payments, $          0
            late charges, $ 0      fees):
         $3,051.57 - 3 months (10/19/18 - 12/19/18) @ $1,017.19; Suspense ($15.62) & $1,031.00 - BK
         attorney fees and costs.
        (2) $      7,643.72       prepetition default consisting of       amounts specified in proof of claim, or,
                consisting of:


    g. If Chapter 7, total amount of default $                        .


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RESPONSE (Identify specific items disputed and specify what you contend are the pertinent facts including why
there is a postpetition default, if applicable) (to be completed by respondent):




2. Relief from stay should be granted because (check all that apply): (To be completed by creditor)
        Lack of adequate protection because of failure to make sufficient adequate protection payments and
        lack of a sufficient equity cushion.
        Lack of insurance on collateral.
         No equity in the collateral and the property is not necessary for an effective reorganization.
         Failure of debtor to make Chapter 13 plan payments to the trustee.
         Failure of debtor to make direct payments to secured creditor required by Chapter 13 plan.
         Other (describe):




RESPONSE (Specify why relief from stay should be denied. If respondent proposes to cure a postpetition
default, detail the cure by attaching a proposed order using Local Form (LBF) 720.90 available at
https://www.orb.uscourts.gov under Forms/Local Forms) (to be completed by respondent):




3. Background (To be completed by creditor)

   a. Date petition filed: 11/10/2017 Current Chapter: 7 (7 or 13)
      If 13, current plan date 05/11/2018 Confirmed:            Yes No
      If 13, treatment of creditor’s prepetition claim(s) in plan:
    Debtor shall pay directly to Movant.




      If 7, debtor    has       has not stated on Local Form (LBF) 521 or 521.05 that debtor intends to
      surrender the collateral.

   b. Creditor has a lien on the collateral by virtue of (check all applicable sections and also see paragraph 6
        below):
        Security agreement, trust deed or land sale contract dated 01/14/2009 , and, if applicable, an
        assignment of said interest to creditor. The security interest was perfected as required by applicable
        law on 02/04/2009 .


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         Retail installment contract dated               , and, if applicable, an assignment of said interest to
         creditor. The security interest was perfected on the certificate of title on                 .
         Other (describe):




RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):




4. Request for Relief from Codebtor Stay (Chapter 13 only)
   a.                             , whose address is
                                 , is a codebtor on the obligation described above, but is not a debtor in this
      bankruptcy.

   b. Creditor should be granted relief from the codebtor stay because (check all applicable boxes):
           codebtor received the consideration for the claim held by creditor,          debtor’s plan does not
      propose to pay creditor’s claim in full,           creditor’s interest would be irreparably harmed by
      continuation of the codebtor stay as a result of the default(s) described above and/or      because:




RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):




5. Other Pertinent Information (To be completed by creditor, if applicable):
In the event that the automatic stay in this case is modified, this case dismisses, and/or the Debtor
obtains a discharge and a foreclosure action is commenced on the mortgaged property, the
foreclosure will be conducted in the name of Movant.

Movant, directly or through an agent, has possession of the Note. The Note is either made payable to
Movant or has been duly endorsed.

The amount in paragraph 1(f) is an approximate default amount. An exact reinstatement amount can
be obtained upon request.
RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):




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6. Relief Requested (check all applicable sections): (To be completed by creditor)

      Creditor requests relief from the automatic stay to allow it to foreclose its lien on the above identified
      collateral, and, if necessary, to take appropriate action to obtain possession of the collateral.

      Creditor has a security interest in real property and requests relief from stay with respect to an act against
      such property and that the relief be binding in any other bankruptcy case purporting to affect such real
      property filed not later than 2 years after the date of the entry of an order granting this motion. (If you
      check this box, you must complete paragraph 5 above to support this request. If you do not do so, the
      Court will not grant relief binding in any other bankruptcy case.)

      Creditor requests that the 14-day stay provided by FRBP 4001(a)(3) be waived based on the following
      cause:




      Other (describe and explain cause):
   Creditor requests relief from the automatic stay to potentially pursue a short sale or a deed in lieu of
   foreclosure as alternatives to foreclosure.

   Movant further requests that upon entry of the order granting relief from stay, it be exempted from
   further compliance with Fed. Rule Bankr. P. 3002.1 in the instant bankruptcy case.


RESPONSE (Identify any disputed items and specify the pertinent facts. If respondent agrees to some relief, attach
a proposed order using Local Bankruptcy Form (LBF) 720.90 available at https://www.orb.uscourts.gov under
Forms/Local Forms) (to be completed by respondent):




7. Documents:

   If creditor claims to be secured in paragraph 3.b. above creditor has attached to and filed with this
   motion a copy of the documents creating and perfecting the security interest, if not previously attached to
   a proof of claim.

   If this case is a Chapter 13 case and the collateral as to which creditor seeks stay relief is real property,
   creditor has attached to and filed with this motion a postpetition payment history current to a date not more
   than 30 days before this motion is filed, showing for each payment the amount due, the date the payment
   was received, the amount of the payment, and how creditor applied the payment.

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RESPONDENT requests creditor provide Respondent with the following document(s), if any marked, which are
pertinent to this response:
      Postpetition payment history if not required above.
      Documents establishing that creditor owns the debt described in paragraph 1 or is otherwise a proper
      party to bring this motion.
      Other document(s) (specific description):




Creditor/Attorney                                            Respondent Debtor/Attorney (by signing, the
                                                             respondent also certifies that [s]he has not altered
                                                             the information completed by creditor)

Signature: /s/ Scott D. Crawford                             Signature:
Name: Scott D. Crawford                                      Name:
Address: 121 Southwest Salmon Street                         Address:
11th Floor, Portland, OR 97204
Email Address: bankruptcy@zbslaw.com                         Email Address:
Phone No: (503) 946-6558                                     Phone No:
OSB#:                  086448                                OSB#:

                                                             Respondent Codebtor/Attorney (by signing,
                                                             the respondent also certifies that [s]he has not
                                                             altered the information completed by creditor)

                                                             Signature:
                                                             Name:
                                                             Address:

                                                             Email Address:
                                                             Phone No:
                                                             OSB#:



You are hereby notified that the creditor is attempting to collect a debt and any information obtained will be
used for that purpose.


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                                           UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF OREGON

In re                                               )   Case No. __________________
                                                    )
                                                    )   NOTICE OF HEARING ON MOTION
                                                    )   FOR RELIEF FROM DEBTOR’S
                                                    )   AUTOMATIC STAY IN A CHAPTER
                                                    )   7/13 CASE, AND/OR CODEBTOR’S
Debtor(s)                                           )   STAY IN A CHAPTER 13 CASE

The attached Response, filed for the respondent, _____________________________________________________, who is
the (debtor, trustee, etc.) _______________________________, is in response to the Motion for Relief from Stay filed on
behalf of (m oving party) ______________________________________________________________________________.

The nam e and service address of the respondent's attorney (or respondent, if no attorney) are: ______________________
__________________________________________________________________________________________________.


(If debtor is respondent) The debtor’s address and Taxpayer ID#(s) (last 4 digits) are: ______________________________
__________________________________________________________________________________________________.

NOTICE IS GIVEN THAT:

A Telephone Hearing on the Motion, at which no testim ony will be taken, will be held as follows:

     Date:
     Time:

     Call In Number:      (888) 684-8852
     Access Code:         3702597

[Note: If you have problem s connecting, call the court at (503) 326-1500 or (541) 431-4000.]

                                          TELEPHONE HEARING REQUIREM ENTS

1.   You m ust call in and connect to the telephone hearing line or personally appear in the judge’s courtroom no later than your
     scheduled hearing tim e. The court will not call you.

2.   You m ay be asked to call again from another phone if your connection is weak or creates static or disruptive noise.

3.   Please m ute your phone when you are not speaking. If you do not have a m ute function on your phone, press *6 to m ute
     and *6 again to unm ute if you need to speak. Do not put the court on hold if it will result in m usic or other noise. If
     available, set the phone to "Do Not Disturb" so it will not ring during the hearing.

4.   W hen it is tim e for you to speak, take your phone off the “speaker” option or headset to m inim ize background noise and
     im prove sound quality. Position the telephone to m inim ize paper rustling. Do not use a keyboard or talk with others in the
     room . Be aware that telephone hearings m ay be am plified throughout the courtroom .

5.   Do not announce your presence until the court calls your case. Sim ply stay on the line, even if there is only silence, until
     the judge starts the hearings, and then continue to listen quietly until your case is called.

6.   W henever speaking, first identify yourself.

7.   Be on tim e. The judge m ay handle late calls the sam e as a late appearance in the courtroom .
                                                                          ____________________________________________
                                                                          Signature

I certify that: (1) the response was prepared using a copy of the ORIGINAL Motion; (2) if the Response was electronically filed,
the response was prepared using the “FILLABLE” PDF version of the Motion unless the Motion was filed on paper and it could
not be otherwise electronically obtained from the m ovant; and (3) that on __________ copies of this Notice and the Response
were served on the m oving party's attorney (or m oving party, if no attorney) at the address shown in the Notice of Motion.
                                                              _______________________________________________________
721 (6/1/13)                                                  Signature & Relation to Respondent

                                 Case 17-63436-pcm13              Doc 45      Filed 01/03/19
 1   Scott D. Crawford, SBN 086448
     ZIEVE, BRODNAX & STEELE, LLP
 2   One World Trade Center
     121 Southwest Salmon St., 11th Fl.
 3   Portland, OR 97204
     (503) 946-6558 | FAX: (503) 296-2884
 4   Email: bankruptcy@zbslaw.com
     File No. 18005673
 5
     Attorneys for Movant,
 6   US BANK TRUST NATIONAL ASSOCIATION AS TRUSTEE OF THE TIKI SERIES III
     TRUST
 7

 8                             UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF OREGON
 9

10    In re:                                                 Case No.: 17-63436-pcm13
                                                             Chapter 13
11    RUBEN LIMAS, SR.,
12

13                                   Debtor.

14

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17                                    CERTIFICATE OF SERVICE
18             I, Michele Dapello, certify that I am an employee of Zieve, Brodnax, & Steele, LLP, 30

19   Corporate Park, Suite 450, Irvine, CA 92606, over the age of 18, and not a party within this action.

20   I, further certify, that on the 3rd day of January, 2019, I served via U.S. Mail a copy of the proposed

21   NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY IN A CHAPTER 13

22   CASE, CHAPTER 13 MOTION FOR RELIEF FROM DEBTOR STAY FILED BY US

23   BANK TRUST NATIONAL ASSOCIATION AS TRUSTEE OF THE TIKI SERIES III

24   TRUST AND CERTIFICATE OF SERVICE addressed to the following:

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                                                       1
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 1   Ruben Limas, Sr.                            Debtor (per Court Docket)
     4935 Delight Street N.
 2   Keizer, OR 97303
 3
     Kevin D Swartz                              Debtor’s Counsel
 4   POB 12829                                   kswartz@olsendaines.com
     Salem, OR 97309-0829
 5
     Naliko Markel                               Chapter 13 Trustee
 6   Office of the Standing Chapter 13 Trustee   ecf@eugene13.com
 7   400 E. 2nd Ave., Suite 200
     Eugene, OR 97401
 8
     US Trustee, Eugene                          Office of the United States Trustee
 9   405 E 8th Ave., #110                        USTPRegion18.EG.ECF@usdoj.gov
     Eugene, OR 97401-2706
10

11

12                                               /s/ Michele Dapello
                                                 An Employee of Zieve, Brodnax, & Steele, LLP
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                                                 2
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               Exhibit 1
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Limas, Ruben                                                                     Interest Method: Arrears   *Trustee pays Arrears/Borrower pays Ongoing*
                                                                                     Interest Rate:  4.125% **BK Filed 11/10/2017 ‐ Case #17‐63436

                                                                                Mo Acc   Cum Acc         Pd                                  Escrow    Arrearage  Arrearage   Late     Late 
Trans Date     Days             Description             Total Pd     Amt Pd      Int        Int      Interest      Principal  Escrow Bal    Disb/Pmt    Balance   Disb/Pmts Balance Fees/pmts      Suspense     Prin Bal 
                                                                                         2,033.33                              (2,448.65)                   0.00                0.00                 594.87    99,735.30
                      05/19/2017 thru 10/19/2017       4,803.42     4,803.42       0.00 2,033.33     2,033.33      2,770.09    (2,448.65)        0.00   (4803.42)   (4803.42)   0.00      0.00       594.87    96,965.21
                      Late Charges                         0.00         0.00       0.00       0.00       0.00          0.00    (2,448.65)        0.00   (4843.44)     (40.02)   0.00      0.00       594.87    96,965.21
                      Corp Adv                             0.00         0.00       0.00       0.00       0.00          0.00    (2,448.65)        0.00   (5789.94)    (946.50)   0.00      0.00       594.87    96,965.21
                      Escrow Deficiency                    0.00         0.00       0.00       0.00       0.00          0.00    (2,448.65)        0.00   (8238.59)   (2448.65)   0.00      0.00       594.87    96,965.21
                      POC Unapplied                        0.00         0.00       0.00       0.00       0.00          0.00    (2,448.65)        0.00   (7643.72)     594.87    0.00      0.00         0.00    96,965.21
                                                           0.00         0.00       0.00       0.00       0.00          0.00    (2,448.65)        0.00   (7643.72)       0.00    0.00      0.00         0.00    96,965.21
                                                           0.00         0.00       0.00       0.00       0.00          0.00    (2,448.65)        0.00   (7643.72)       0.00    0.00      0.00         0.00    96,965.21
                                                           0.00         0.00       0.00       0.00       0.00          0.00    (2,448.65)        0.00   (7643.72)       0.00    0.00      0.00         0.00    96,965.21
02/08/2018      30    11/19/2017                       1,017.19       800.57    333.32     333.32      333.32        467.25    (2,232.03)      216.62   (7643.72)       0.00    0.00      0.00         0.00    96,497.96
03/02/2018      30    12/19/2017                       1,017.19       800.57    331.71     331.71      331.71        468.86    (2,015.41)      216.62   (7643.72)       0.00    0.00      0.00         0.00    96,029.10
04/06/2018      30    01/19/2018                       1,017.19       800.57    330.10     330.10      330.10        470.47    (1,798.79)      216.62   (7643.72)       0.00    0.00      0.00         0.00    95,558.63
05/14/2018            Ongoing Funds                    1,017.00         0.00       0.00       0.00       0.00          0.00    (1,798.79)        0.00   (7643.72)       0.00    0.00      0.00     1,017.00    95,558.63
06/08/2018      30    02/19/2018                       1,017.19       800.57    328.48     328.48      328.48        472.09    (1,582.17)      216.62   (7643.72)       0.00    0.00      0.00     1,017.00    95,086.54
07/23/2018      30    03/19/2018                       1,014.00       800.57    326.86     326.86      326.86        473.71    (1,365.55)      216.62   (7643.72)       0.00    0.00      0.00     1,013.81    94,612.83
07/24/2018            Insurance Disb                       0.00         0.00       0.00       0.00       0.00          0.00    (2,082.55)     (717.00) (7643.72)        0.00    0.00      0.00     1,013.81    94,612.83
08/20/2018      30    04/19/2018                       1,014.00       800.57    325.23     325.23      325.23        475.34    (1,865.93)      216.62   (7643.72)       0.00    0.00      0.00     1,010.62    94,137.49
08/20/2018            Late Charge Assessed                 0.00         0.00       0.00       0.00       0.00          0.00    (1,865.93)        0.00   (7643.72)       0.00  (40.03)   (40.03)    1,010.62    94,137.49
09/04/2018            Late Charge Assessed                 0.00         0.00       0.00       0.00       0.00          0.00    (1,865.93)        0.00   (7643.72)       0.00  (80.06)   (40.03)    1,010.62    94,137.49
09/14/2018      30    05/19/2018                       1,000.00       800.57    323.60     323.60      323.60        476.97    (1,649.31)      216.62   (7643.72)       0.00  (80.06)     0.00       993.43    93,660.52
10/05/2018            Late Charge Assessed                 0.00         0.00       0.00       0.00       0.00          0.00    (1,649.31)        0.00   (7643.72)       0.00 (120.09)   (40.03)      993.43    93,660.52
10/15/2018      30    06/19/2018                       1,015.00       800.57    321.96     321.96      321.96        478.61    (1,432.69)      216.62   (7643.72)       0.00 (120.09)     0.00       991.24    93,181.91
                30    07/19/2018 payment with adjust       0.00       800.57    320.31     320.31      320.31        480.26    (1,242.02)      190.67   (7643.72)       0.00 (120.09)     0.00        (0.00)   92,701.65
                      Reclassify Escrow                1,242.02         0.00       0.00       0.00       0.00          0.00         0.00     1,242.02   (7643.72)       0.00 (120.09)     0.00        (0.00)   92,701.65
10/29/2018            Tax Disb                             0.00         0.00       0.00       0.00       0.00          0.00    (1,580.91)   (1,580.91) (7643.72)        0.00 (120.09)     0.00        (0.00)   92,701.65
10/30/2018            Arrears                            268.90         0.00       0.00       0.00       0.00          0.00    (1,580.91)        0.00   (7374.82)     268.90 (120.09)     0.00        (0.00)   92,701.65
10/31/2018            Late Charge Assessed                 0.00         0.00       0.00       0.00       0.00          0.00    (1,580.91)        0.00   (7374.82)       0.00 (160.12)   (40.03)       (0.00)   92,701.65
11/26/2018      30    08/19/2018                       1,050.00       800.57    318.66     318.66      318.66        481.91    (1,364.29)      216.62   (7374.82)       0.00 (160.12)     0.00        32.81    92,219.74




                                                                                                     Exhibit 4
                                                                               Case 17-63436-pcm13               Doc 45    Filed 01/03/19
